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Exhibit

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ; CRIMINAL NO.
v.

VIOLATIONS:
THOMAS EDWARD CALDWELL,

: 18 U.S.C. §371
DONOVAN RAY CROWL, and : (Conspiracy)
JESSICA MARIE WATKINS, : 18 U.S.C. § 1512(c)(2)

(Obstruction of an Officia] Proceeding)
Defendants.
18 U.S.C. §§ 1361, 2
: (Destruction of Government Property)

18 U.S.C. § 1752(a)(1)-(2)
(Restricted Building or Grounds)

Case: 1:21-cr-00028

Assigned To : Mehta, Amit P.

Assign. Date : 1/27/2021
INDICTMENT Description: INDICTMENT (B}

The Grand Jury charges that, at all times material to this Indictment, on or about the dates
stated below:

Introduction

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1. The 2020 United States Presidential Election occurred on November 3, 2020.

2. The United States Electoral College is a group required by the Constitution to form
every four years for the sole purpose of electing the president and vice president, with each state
appointing its own electors in a number equal to the size of that state’s Congressional delegation.

3. On December 14, 2020, the presidential electors of the U.S. Electoral College met
in the state capital of each state and in the District of Columbia and formalized the result of the
2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D, Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.
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4, On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol building
(“the Capitol”) to certify the vote of the Electoral College of the 2020 U.S. Presidential Election
(“Electoral College vote”).

The Incursion at the United States Capitol on January 6, 2021

5. The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol
Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the
Capitol exterior, and only authorized individuals with appropriate identification are allowed inside
the Capitol building.

6. The entire Capito! complex—including the Capito! building, the Capitol Visitor
Center, and Capitol grounds to include the entire exterior plaza—was barricaded and off limits to
the public on January 6, 2021.

7. On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the
Capitol building to certify the Electoral College vote. Vice President Michael R. Pence, in his
constitutional duty as President of the Senate, presided over the Joint Session.

8. A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway, Crowd members eventually forced their way through, up, and over Capitol Police
barricades and advanced to the building’s exterior fagade. Capitol Police officers attempted to
maintain order and stop the crowd from entering the Capitol building, to which the doors and
windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members
forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.
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The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member
submitted to security screenings or weapons checks by Capitol Police or other security officials.

9. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence}—who had withdrawn to separate chambers to resolve an
objection—were evacuated from their respective chambers. The Joint Session and the entire
official proceeding of the Congress was halted while Capitol Police and other law enforcement
officers worked to restore order and clear the Capitol of the unlawful occupants.

10. _—_ Later that night, law enforcement regained control of the Capitol. At approximately
8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained
hidden within the Capitol building throughout these events.

11. ‘In the course of these events, approximately 81 members of the Capitol Police and
58 members of the Metropolitan Police Department were assaulted, and one Capitol Police officer
died. Additionally, four citizens died; many media members were assaulted and had cameras and
other news gathering equipment destroyed; and the Capitol suffered millions of dollars in
damage—including broken windows and doors, graffiti, and residue of various pepper sprays, tear
gas, and fire extinguishers deployed both by crowd members who stormed the Capitol and by
Capitol Police officers trying to restore order.

The Oath Keepers

12. The Oath Keepers are a large but loosely organized collection of militia who believe
that the federal government has been co-opted by a shadowy conspiracy that is trying to strip
American citizens of their rights. Though the Oath Keepers will accept anyone as members, what
differentiates them from other anti-government groups is their explicit focus on recruiting current

and former military, law enforcement, and first-responder personnel. The organization’s name
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alludes to the oath sworn by members of the military and police to defend the Constitution “from
all enemies, foreign and domestic.” The Oath Keepers are led by PERSON ONE.
The Co-Conspirators

13. THOMAS EDWARD CALDWELL is a 65-year-old resident of Clarke County,
Virginia. As described more fully herein, CALDWELL planned with DONOVAN CROWL,
JESSICA WATKINS, and others known and unknown, to forcibly enter the Capitol on January 6,
2021, and to disrupt the Congressional proceeding occurring that day.

14. DONOVAN RAY CROWL is a 50-year-old resident of Champaign County, Ohio.
CROWL is a member of the Ohio State Regular Militia. The Ohio State Regular Militia is a local
militia organization, some of whose members form a dues-paying subset of the Oath Keepers. As
described more fully herein, CROWL planned with CALDWELL, JESSICA WATKINS, and
others known and unknown, to forcibly enter the Capitol on January 6, 2021, and to disrupt the
Congressional proceeding occurring that day.

15. JESSICA MARIE WATKINS is a 38-year-old resident of Champaign County,
Ohio. WATKINS is a member of the Oath Keepers. At the top of WATKINS’s social-media
account page on Parler, a social-networking service, WATKINS states that she is “C.O.
[Commanding Officer] of the Ohio State Regular Militia.” As described more fully herein,
WATKINS planned with CALDWELL, CROWL, and others known and unknown, to forcibly
enter the Capitol on January 6, 2021, and to disrupt the Congressional proceeding occurring that

day.
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COUNT ONE
(Conspiracy—18 U.S.C. § 371)

16. The introductory allegations set forth in paragraphs | through 15 are re-alleged and
incorporated by reference as though set forth herein.

The Conspiracy

17. From at least as early as November 3, 2020, through January 19, 2021, in the

District of Columbia and elsewhere, the defendants,
THOMAS EDWARD CALDWELL,
DONOVAN RAY CROWL, and
JESSICA MARIE WATKINS,
did knowingly combine, conspire, confederate, and agree with each other and others known and
unknown, to commit an offense against the United States, namely, to corruptly obstruct, influence,
and impede an official proceeding, that is, Congress’s certification of the Electoral College vote,

and to attempt to do so, in violation of Title 18, United States Code, Section 1512(c)(2).

Purpose of the Conspiracy

18. The purpose of the conspiracy was to stop, delay, and hinder Congress’s
certification of the Electoral College vote.
Manner and Means
19. CALDWELL, CROWL, and WATKINS, with others known and unknown, carried
out the conspiracy through the following manner and means, among others, by:
a. Agreeing to participate in and taking steps to plan an operation to interfere with the
official Congressional proceeding on January 6, 2021 (the “January 6 operation”);
b. Using social media, text messaging, and messaging applications to send incendiary
messages aimed at recruiting as large a following as possible to go to Washington,

D.C., to support the January 6 operation;
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c. Coordinating in advance with others, including members of the Oath Keepers from
other regions, and joining forces with these individuals and groups to further the
January 6 operation;

d. Using a walkie-talkie-hke application, and creating a channel on it named “Stop the
Steal J6,” to make plans for and to communicate during the January 6 operation;

e. Traveling to and meeting up in Virginia, and continuing together into Washington,
D.C., for the January 6 operation;

f. Bringing and contributing paramilitary gear and supplies for the January 6
operation;

g. Forcibly storming past exterior barricades, Capitol Police, and other law
enforcement officers, and entering the Capitol complex in furtherance of the
January 6 operation; and,

h. After January 6, 2021, concealing evidence of their involvement in the January 6
operation and attack on the Capitol.

Overt Acts

Planning for and Coordination on January 6, 2021
20. On November 9, 2020, WATKINS sent text messages to a number of individuals
who had expressed interest in joining the Ohio State Regular Militia. In these messages,
WATKINS mentioned, among other things, that the militia had a week-long “Basic Training class
coming up in the beginning of January,” and WATKINS told one recruit, “I need you fighting fit
by innaugeration.” WATKINS told another individual, “It’s a military style basic, here in Ohio,

with a Marine Drill Sergeant running it. An hour north of Columbus Ohio{.]”
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21. On November 9, 2020, WATKINS asked a recruit if he could “download an App
called Zello”' and stated, “We all use Zello though for operations.”

22. On November 17, 2020, when a recruit asked WATKINS for her predictions for

2021, WATKINS replied, among other statements:

I can’t predict. I don’t underestimate the resolve of the Deep State. Biden may still
yet be our President. If he is, our way of life as we know it is over. Our Republic
would be over. Then it is our duty as Americans to fight, kill and die for our rights.

and:

[I]f Biden get the steal, none of us have a chance in my mind. We already have our
neck in the noose. They just haven’t kicked the chair yet.

23. On November 23, 2020, CALDWELL sent a text message to WATKINS stating:

Hi, CAP! Wanted to tell you it was great to have you here in Virginia. Don’t know
what [PERSON ONE] is cooking up but I am hearing rumblings of another Maga
March 12 December.? I don’t know what will happen but like you I am very
worried about the future of our country. Once lawyers get involved all of us normal
people get screwed. I believe we will have to get violent to stop this, especially the
antifa maggots who are sure to come out en masse even if we get the Prez for 4
more years. Stay sharp and we will meet again. You are my kinda person and we
may have to fight next time. I have my own gear, I like to be ON TIME and go
where the enemy is, especially after dark. Keep the faith! Spy.

24. In December 2020, CROWL attended a training camp in North Carolina.
25, In December 2020, CALDWELL made plans to stay at a hotel in Arlington,

Virginia, for the days surrounding January 6, 2021.

' Zello is an application that emulates push-to-talk walkie-talkies over cellular telephone
networks, Zello can be used on electronic communication devices, like cellular telephones and
two-way radios.

? An event colloquially referred to as the “Million MAGA March” occurred in Washington,
D.C., on November 14, 2020. A similar event occurred in Washington, D.C., on December 12,
2020.
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26. On December 29, 2020, CROWL and WATKINS exchanged the following text

messages:

WATKINS: You still going to Illinois? We plan on going to DC on the 6th,
weather permitting.

CROWL: No. .... What’s going on on the 6th?

WATKINS: DC. Trump wants all able bodied Patriots to come. I’m sure Tom
would love to see us as well.

WATKINS: If Trump activates the Insurrection Act, I’d hate to miss it[.]
27. On December 30, 2020, CALDWELL wrote in a Facebook post: “THIS IS OUR
CALL TO ACTION, FREINDS! SEE YOU ON THE 6TH IN WASHINGTON, D.C. ALONG

WITH 2 MILLION OTHER LIKE-MINDED PATRIOTS.”

28. On December 30, 2020, WATKINS and CALDWELL exchanged the following

text messages in coordinating their plans for January 6, 2021:

WATKINS: Looks like we are greenlight to come to DC on the 6th. The Rally
Point still at your place?

CALDWELL, in part: Here’s the rub: [PERSON TWO] and I will be in a hotel
within striking distance of the city starting on the 4th so we won’t even BE here.
There will be some stuff going on during the 5th and we want to be a part of that
whenever it shakes out. Also we want to be in D.C. very early on the 6th, hence
closer/virtually no commute time.

WATKINS: We planned on arriving on the Sth. We want to be in DC by 9am on
the 6th. I will reach out to [PERSON THREE], and see if NC boys are coming. If
[PERSON ONE] isn’t making plans, I’ll take charge myself, and get the ball rolling,
I think the Metro is smarter than convoy/parking issues. Do you want us to stage
ourselves vehicles elsewhere, seeing how you’re going to be gone? We can go to
a KOA Campground or something...

CALDWELL (about two hours later):

Talked to [PERSON THREE]. At least one full bus 40+ people coming from N.C.
Another group (unclear if Mississippi guys) also a bus. Busses have their own lane
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on the 14th street bridge so they will be able to get in and out. [PERSON THREE]
is driving plus 1 and arriving nite before. As we speak he is trying to book a room
at Comfort Inn Ballston/Arlington because of its close-in location and easy access
to downtown because he feels 1) he’s too broken down to be on the ground all day
and 2) he is committed to being the quick reaction force anf bringing the tools if
something goes to hell. That way the boys don’t have to try to schlep weps on the
bus. He’ll bring them in his truck day before. Just got a text from him he WAS
able to book a room in that hotel I recommended which is on Glebe Road in
Arlington. However it goes it will be great to see you again! I sure hope your arm
is getting better!

29, On December 31, 2020, CALDWELL replied to a Facebook comment, writing, “It
begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the streets. Let them try to
certify some crud on capitol hill with a million or more patriots in the streets. This kettle is set to
boil...”

30. On December 31, 2020, WATKINS responded with interest to an invitation to a

“leadership only” conference call on an encrypted messaging service called Signal for the “DC

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op.

31. On January 1, 2021, CALDWELL replied to a Facebook comment, writing, “I
accept that assignment! I swore to support and defend the Constitution of the United States against
all enemies foreign and domestic. I did the former, I have done the latter peacefully but they have
morphed into pure evil even blatantly rigging an election and paying off the political caste. We
must smite them now and drive them down.”

32. On January 1, 2021, CROWL sent CALDWELL a Facebook message stating,
“Happy New year, to you Sir!! Guess Ill be seeing you soon. Will probably call you
tomorrow. ..mainly because...1 like to know wtf plan is. You are the man Commander.”

33. On January 1, 2021, CALDWELL wrote to CROWL, “Check with Cap. I
recommended the following hotel to her which STILL has rooms (unbelieveble).” CALDWELL

then sent a link to the Comfort Inn Ballston, the same hotel that he recommended to others on
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January 1. CALDWELL continued, “[PERSON TWO} and 1 are setting up shop there. [PERSON
THREE] has a room and is bringing someone. He will be the quick reaction force. Its going to be
cold. We need a place to spend the night before minimum. [PERSON ONE] never contacted me
so [PERSON TWO] and | are going our way. | will probably do pre-strike on the 5th though there
are things going on that day. Maybe can do some night hunting. Oathkeeper friends from North
Carolina are taking commercial buses up early in the morning on the 6th and back same night.
[PERSON THREE] will have the goodies in case things go bad and we need to get heavy.”

34. On January |, 2021, CROWL and WATKINS exchanged the following text

messages:
CROWL: Nice. Soo, we are leaving Monday, right?
WATKINS: Yes. Early. Like 10am early. Be here Sunday to square away gear.
CROWL: 10-4 Are we taking my car?
WATKINS: Probably yeah{.]
CROWL: Roger that[.]

35. Beginning on January |, and continuing into January 2, 2021, CALDWELL and
CROWL exchanged messages about the hotel where they planned to stay in Arlington, Virginia,
and CALDWELL told CROWL: “This is a good location and would allow us to hunt at night if
we wanted to. | don’t know if [PERSON ONE] has even gotten out his call to arms but its a little
friggin late. This is one we are doing on our own. We will link up with the north carolina crew.”

36. On January 3. 2021, WATKINS sent CROWL a Facebook message stating,
“Running a bit behind. 1°] txt when I’m back at the bar. Getting supplies for DC.”

37. On January 4, 2021, CROWL and WATKINS departed Ohio with others known

and unknown and traveled to the Washington, D.C., metropolitan area.

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38. | WATKINS rented a room at the Comfort Inn Ballston—the hotel recommended by

CALDWELL—from January 5-7 under the name “Jessica Wagkins.”
Participation in the January 6, 2021, Incursion

39. On January 6, 2021, CROWL and WATKINS equipped themselves for battle
before heading to the Capitol by carrying communication devices and wearing reinforced vests,
camouflage helmets, and goggles.

40.  Atthe Capitol, CROWL and WATKINS joined with a line of individuals wearing
Oath Keepers clothing, patches, and insignia, and some of whom also were wearing battle gear
like WATKINS and CROWL, who moved in an organized and practiced fashion up the steps on
the east side of the Capitol.

41. At approximately 2:40 p.m., CROWL, WATKINS, and this line of individuals
forcibly entered the Capitol building.

42. me they entered the Capitol, CROWL, WATKINS, and this line of individuals
joined the larger crowd in pushing past at least one law enforcement officer who appeared to be
trying to stop the crowd.

43. CROWL, WATKINS, and this line of individuals then moved into an area known
as the Capitol Rotunda.

44. While inside the Capitol on January 6, WATKINS and others known and unknown
communicated and coordinated their actions on Zello, using a Zello channel named “Stop the Steal
J6.” WATKINS participated in the following exchanges, among others:

a. WATKINS stated, “We have a good group. We have about 30-40 of us. We are
sticking together and sticking to the plan.” An unknown male responded, “We’ll

see you soon, Jess. Airborne.”

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b. An unknown male directed, “You are executing citizen’s arrest. Arrest this
assembly, we have probable cause for acts of treason, election fraud.” WATKINS
responded, “We are in the mezzanine. We are in the main dome right now. We are
rocking it. They are throwing grenades, they are fricking shooting people with
paint balls. But we are in here.” An unknown male responded to WATKINS,
telling her to be safe, and stated, “Get it, Jess. Do your fucking thing. This is what
we fucking [unintelligible] up for. Everything we fucking trained for.”

45. CROWL and WATKINS recorded a video of themselves inside the Capitol
Rotunda. In it, CROWL said, “We took on the Capitol! We overran the Capitol!” WATKINS
and CROWL then tumed the camera around to show their faces. WATKINS exclaimed, “We’re
in the fucking Capitol, [unintelligible]!”

46, Meanwhile, CALDWELL, who was positioned on the west side of the Capitol,
joined with PERSON TWO and others known and unknown in storming past barricades and
climbing stairs up to a balcony on the west side of the Capitol building.

47. |. CALDWELL and PERSON TWO took “selfie” photographs of themselves on the
balcony and in other areas on the perimeter of the Capitol.

48. At 2:06 p.m., CALDWELL sent WATKINS a text message stating: “Where are
you? Pence has punked out. We are screwed. Teargassing peaceful protesters at capital steps.
Getting rowdy here... I am here at the dry fountain to the left of the Capitol[.]”

49. At 2:48 p.m., CALDWELL sent a message on Facebook, writing, “We are surging
forward. Doors breached{.}”

50. At3:05 p.m., CALDWELL wrote in a Facebook message, “Inside.”

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Subsequent Acts in Furtherance of the Conspiracy

51. Later in the evening of January 6, 2021, CALDWELL sent Facebook messages
describing his experience as “storming the castle” and proclaiming it “(a] good time.”

52. Also on the evening of January 6, 2021, CALDWELL sent a message to CROWL
stating, “We need to do this at the local level. Lets storm the capitol in Ohio. Tell me when!”

53. CALDWELL deleted or “unsent” Facebook messages containing evidence. For
example, on January 8, 2021, in response to a request from CROWL for a video, CALDWELL
sent the video, and when CROWL thanked him and said, “Thank you Sir. Love the hell outta you
Tom,” CALDWELL responded, “You too, my dear friend! We stormed the gates of corruption
together (although on opposite sides of the building) so between that and our first meeting and
getting to know you since I can say we will always be brothers!” Subsequently, CALDWELL
unsent the message containing the video.

54. WATKINS and CROWL returned to Ohio after January 6, 2021, but after the media
identified them as participants in the attack on the Capitol, WATKINS and CROWL traveled from
Ohio to Virginia and stayed at CALDWELL’s residence in Virginia. In texts on January 14, 2021,
CALDWELL directed CROWL to conceal his travel to CALDWELL’s home and invited him to
hide evidence of his involvement in the Capitol incursion, writing, “No need to call me again. Will
expect you even if you are running late.” CALDWELL continued, stating, “Don’t forget to double
back an exit or two at least twice to make sure not followed,” and “Bring full battle rattle to stash
here if you want.”

(In violation of Title 18, United States Code, Section 371)

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COUNT TWO
(18 U.S.C. § 1512(c)(2)}—Obstruction of an Official Proceeding)

55. Paragraphs | through 15 and paragraphs 20 through 54 of this Indictment are re-
alleged and incorporated as though set forth herein.
56. On or about January 6, 2021, in the District of Columbia and elsewhere, the
defendants,
THOMAS EDWARD CALDWELL,
DONOVAN RAY CROWL, and
JESSICA MARIE WATKINS,
attempted to, and did, corruptly obstruct, influence, and impede an official proceeding; that is,
CALDWELL, CROWL, and WATKINS forcibly entered the Capitol to stop, delay, and hinder
Congress’s certification of the Electoral College vote.
(In violation of Title 18, United States Code, Section 1512(c)(2))

COUNT THREE
(18 U.S.C, § 1361—Destruction of Government Property)

57. Paragraphs 1 through 15 and paragraphs 20 through 54 of this Indictment are re-
alleged and incorporated as though set forth herein.

58. On January 6, 2021, in the District of Columbia and elsewhere, the defendants,

THOMAS EDWARD CALDWELL,
DONOVAN RAY CROWL, and
JESSICA MARIE WATKINS,

attempted to, and did, willfully injure and commit depredation against property of the United
States, and did aid and abet others known and unknown to do so; that is, CALDWELL, CROWL,
and WATKINS, together and with others known and unknown, forcibly entered the Capitol and

thereby caused damage to the building in an amount more than $1,000.

(In violation of Title 18, United States Code, Sections 1361, 2)

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COUNT FOUR
(18 U.S.C. § 1752(a)(1)-(2)—Restricted Building or Grounds)

59. Paragraphs | through 15 and paragraphs 20 through 54 of this Indictment are re-
alleged and incorporated as though set forth herein.

60. On or about January 6, 2021, in the District of Columbia and elsewhere, the
defendants,

THOMAS EDWARD CALDWELL,
DONOVAN RAY CROWL, and
JESSICA MARIE WATKINS,

did unlawfully and knowingly enter and remain in a restricted building and grounds, and did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds; that is, CALDWELL, CROWL, and WATKINS entered and
remained in the Capitol complex where the Vice President was temporarily visiting and where a

special event of national significance was in progress.

(In violation of Title 18, United States Code, Section 1752(a)(1)-(2))

A TRUE BILL

FOREPERSON

MICHAEL R. SHERWIN
ACTING ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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